Case 1:16-cv-21575-FAM Document 230 Entered on FLSD Docket 04/26/2017 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 16-CV-21575-F AM/JJO


ALEXANDRE DACCACHE, CARLOS
ENRIQUE HILLER SANCHEZ, PHILIP
CALDERWOOD, JOSE ANTONIO PIETRI,
JOSE R. CASSERES-PINTO, TONGYI WANG,
JAMES B. SHAW, JOHANNES EIJMBERTS,
and LORNE MORRIS, on behalf of themselves
and all others similarly situated,

       Plaintiffs,

v.

RAYMOND JAMES & ASSOCIATES, INC.,
PEOPLE'S UNITED FINANCIAL, INC.,
as successor-in-interest to Chittenden Trust Company,
PEOPLE'S UNITED BANK, ARIEL QUIROS,
WILLIAM STENGER, and JOEL BURSTEIN,

       Defendants.
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            NOTICE OF SETTLEMENT BETWEEN THE RECEIVER AND
          RAYMOND JAMES & ASSOCIATES, INC., STAY OF LITIGATION,
             AND PROCEEDINGS FOR APPROVAL OF SETTLEMENT

     Notice is hereby given that Michael I. Goldberg, as Receiver appointed in SEC v. Quiros et

al., Case No. 16-CV-21301-DPG (S.D. Fla.) (the "SEC Action"), for the entities listed in

Schedule A, Defendant Raymond James & Associates, Inc. ("Raymond James"), and Interim

Class Counsel in Daccache v. Raymond James & Associates, Inc., et al., Case No. 16-CV-

21575-FAM (S.D. Fla.), have reached a settlement as to all claims against Raymond James and

Joel Burstein that has been preliminarily approved by the Honorable Darrin P. Gayles in the SEC

Action. The Preliminary Approval Order is attached hereto as Exhibit 1, and the Notice of




                                               1
Case 1:16-cv-21575-FAM Document 230 Entered on FLSD Docket 04/26/2017 Page 2 of 5




Proceedings to Approve Settlement with Raymond James & Associates, Inc. and Bar Order is

attached hereto as Exhibit 2.

       In the Preliminary Approval Order, Judge Gayles found that a stay in this action (and all

other actions in which Raymond James is a defendant as a result of its relationship with the

receivership entities) is warranted to preserve the claims of the Receiver being settled and the

orderly administration of the Receivership Estate. The settlement agreement, at paragraph 9(a),

provides for a stay of all litigation pending against Raymond James and Joel Burstein. The stay

provided in the Preliminary Approval Order shall not affect the prosecution of any claim against

any other defendant in this action. This stay does not apply to any pending or future actions

brought by any federal or state governmental bodies or agencies.

Dated: April 26, 2017                       Respectfully submitted,

                                            By: Is/ Jeffrey C. Schneider
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                                               2
Case 1:16-cv-21575-FAM Document 230 Entered on FLSD Docket 04/26/2017 Page 3 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that on this on April 26, 2017, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF.             I also certify that the foregoing

documents are being served this day on all counsel of record via transmission of Notices of

Electronic Filing generated by CM/ECF or in the manner stated in the service list attached.

                                             Is/ Jeffrey C. Schneider
                                                Jeffrey C. Schneider




                                                3
Case 1:16-cv-21575-FAM Document 230 Entered on FLSD Docket 04/26/2017 Page 4 of 5




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Case 1:16-cv-21575-FAM Document 230 Entered on FLSD Docket 04/26/2017 Page 5 of 5




                                           Schedule A

                                  (List of Receivership Entities)


Jay Peak, Inc.
Q Resorts, Inc.
Jay Peak Hotel Suites L.P.
Jay Peak Hotel Suites Phase II L.P.
Jay Peak Management, Inc.
Jay Peak Penthouse Suites L.P.
Jay Peak GP Services, Inc.
Jay Peak Golf and Mountain Suites L.P.
Jay Peak GP Services Golf, Inc.
Jay Peak Lodge and Townhouses L.P.
Jay Peak GP Services Lodge, Inc.
Jay Peak Hotel Suites Stateside L.P.
Jay Peak GP Services Stateside, Inc.
Jay Peak Biomedical Research Park L.P.
AnC Bio Vermont GP Services, LLC
Q Burke Mountain Resort, Hotel and Conference Center, L.P.
Q Burke Mountain Resort GP Services, LLC
Jay Construction Management, Inc.
GSI ofDade County, Inc.
North East Contract Services, Inc.
Q Burke Mountain Resort, LLC




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